   1   Russell Brown
       CHAPTER 13 TRUSTEE
   2
       Suite 800
   3   3838 North Central Avenue
       Phoenix, Arizona 85012-1965
   4   602.277.8996
   5
   6                              UNITED STATES BANKRUPTCY COURT

   7                                        DISTRICT OF ARIZONA
   8
        In re                                             Chapter 13
   9
        FRANCISCO E. CANCHE,                              Case No. 2-20-bk-00488-PS
  10
  11    Debtor.                                           TRUSTEE’S RECOMMENDATION

  12                                                      Deadline is June 29, 2020
  13
                The Trustee has reviewed the Plan, Schedules, and Statement of Financial Affairs.
  14
                Subject to the resolution of the following issues, the Plan will meet Code requirements and
  15
       the Trustee will recommend confirmation:
  16
  17            (1) The Arizona Department of Revenue has filed an objection to the Plan. The attorney for

  18   the Debtor must notify the Trustee if the objection has been resolved or, if the objection is
  19
       unresolved, file the appropriate motion to get the Court to hold a hearing on the objection. If
  20
       resolution of the objection changes Plan funding requirements, the Trustee requires receipt of a new
  21
       Plan analysis with any proposed order confirming the Plan. If a motion is filed to get a hearing
  22
  23   before the Court, the time to submit a proposed Order confirming the Plan to the Trustee is extended.

  24   The creditor must sign the order confirming plan, or file a withdrawal of the objection to
  25   confirmation.
  26
                (2) The proof of claim filed by the Internal Revenue Service indicates that the Debtor has
  27
       not filed his 2019 income tax returns. The Trustee cannot recommend confirmation until the tax
  28


Case 2:20-bk-00488-PS        Doc 27     Filed 05/28/20 Entered 05/28/20 16:39:46            Desc
                                            Page 1 of 4
   1   returns are filed and the Internal Revenue Service amends its proof of claim. In addition, the Debtor
   2
       is required to submit the nonexempt state and federal income tax refunds for 2019 as supplemental
   3
       payments to be paid first to unsecured, priority claims, and then to unsecured, nonpriority claims.
   4
              (3) Plan payment status: The Debtor must cure the delinquency of $200.00 no later than June
   5
   6   29, 2020.

   7          (4) Other requirements:
   8          (a) Due to the possibility of errors on the claims docket, it is the attorney’s responsibility to
   9
       review all proofs of claim filed with the Court and resolve any discrepancies between relevant claims
  10
       and the Plan prior to submitting any proposed Order Confirming Plan to the Trustee. Also, when
  11
  12   counsel provides a proposed order confirming plan to the Trustee, counsel must file or create a notice

  13   on the Court docket. L.R.B.P. 2084-13(b).

  14          (b) Requests by the Trustee for documents and information are not superseded by the filing
  15
       of an amended plan or motion for moratorium.
  16
              (c) The Trustee will object to any reduction in the Plan duration or payout in a proposed
  17
       Order Confirming Plan unless an amended or modified plan is filed and noticed out.
  18
  19          (d) The Trustee requires that any proposed Order Confirming Plan state: “The Plan and this

  20   Order shall not constitute an informal proof of claim for any creditor.”
  21
              (e) To expedite the order review process, counsel must use the recommended form for the
  22
       order confirming plan found at www.chapter13.info.
  23
              (f) The order confirming plan must be accompanied by a cover letter that goes over the
  24
  25   Trustee’s Recommendation items by each paragraph. If counsel fails to use the order form and

  26   provide such letter, the Trustee will reject the proposed order outright and the time to comply with
  27   the Recommendation is not extended.
  28
                                                        -2-
Case 2:20-bk-00488-PS        Doc 27     Filed 05/28/20 Entered 05/28/20 16:39:46               Desc
                                            Page 2 of 4
   1          (g) Any order confirming plan to provide that the Debtors will give the Trustee a copy of the
   2
       2019 - 2021 federal and state income tax returns, including all attachments, forms, schedules and
   3
       statements, within 14 days of filing them.
   4
              (h) Nothing in the Plan or Order Confirming Plan is to alter counsel’s obligation to represent
   5
   6   the Debtors. Counsel is to represent the Debtor(s) in all matters regardless of the fee agreement until

   7   the Court issues an order permitting counsel to withdraw or the case is closed.
   8          (i) According to Paragraph II.H.3. of the “Administrative Procedures for Electronically Filed
   9
       Cases,” as governed by Local Rule 5005-2(e), the Debtors’ attorney is to retain the original
  10
       signatures of all signatories to the Stipulated Order Confirming Plan (other than that of the Trustee).
  11
  12   Pursuant to Local Rule 2084-13(c), the Trustee will upload the proposed Order Confirming a plan

  13   or granting a motion for a moratorium.

  14          (j) The proposed order confirming plan, any responses to this recommendation, and
  15
       documents submitted in response to this recommendation are to be submitted to the applicable case
  16
       administrator in the Trustee’s office.
  17
              SUMMARY: Pursuant to Local Rule 2084-10(b), by June 29, 2020, Debtor is to resolve all
  18
  19   of the above issues and provide the Trustee with a proposed order confirming plan that meets the

  20   above requirements, or the Debtor must file an objection to the Recommendation and obtain a
  21
       hearing date. If neither is accomplished, then the Trustee could file a notice of intent to lodge a
  22
       dismissal order.
  23                                                                           Russell Brown
                                                                               2020.05.28
  24   Copy mailed or emailed to:                                              10:37:58 -07'00'
  25
       FRANCISCO E. CANCHE
  26   15123 NORTH GIL FALCOME LANE
       SURPRISE, AZ 85379
  27   FRANCISCO.CANCHE@YAHOO.COM
  28
                                                        -3-
Case 2:20-bk-00488-PS        Doc 27     Filed 05/28/20 Entered 05/28/20 16:39:46              Desc
                                            Page 3 of 4
   1   PHOENIX FRESH START
       THOMAS ADAMS MCAVITY
   2
       4602 E. THOMAS RD., SUITE S-9
   3   PHOENIX, AZ 85028
       TOM@NWRELIEF.COM
   4
   5                   Jessica Morales
   6                   2020.05.28
                       15:54:37 -07'00'
   7   _________________________________
       jmorales@ch13bk.com
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                             -4-
Case 2:20-bk-00488-PS   Doc 27   Filed 05/28/20 Entered 05/28/20 16:39:46   Desc
                                     Page 4 of 4
